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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

 Century Aluminum of South Carolina, Inc.,      )   Civil Action No. 2:17-cv-274-RMG
                                                )
 Plaintiff,                                     )
                                                )      DEFENDANT SOUTH CAROLINA
                vs.                             )      PUBLIC SERVICE AUTHORITY’S
                                                )          MOTION TO DISMISS
 South Carolina Public Service Authority,       )
                                                )
 Defendant.                                     )

        The undersigned counsel for Defendant South Carolina Public Service Authority (“Santee

Cooper” or the “Authority”), respectfully moves this Court for dismissal of this action pursuant to

Rule 12(b)(6) of the Federal Rule of Civil Procedure for failure to state a claim upon which relief

may be granted for the following reasons:

   (1) The state action immunity doctrine established in Parker v. Brown, 317 U.S. 341 (1943),

        immunizes the Authority from federal and state antitrust claims;

   (2) Tying is not possible as a matter of law under South Carolina’s regulated retail electric

        service market; and

   (3) The South Carolina Unfair Trade Practices Act does not apply to public entities or to

        actions permitted by state law.

In support of its Motion, the Authority incorporates the accompanying memorandum.

                                    [signature page attached]
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                               Respectfully Submitted,

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Columbia, South Carolina

March 14, 2017



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